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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  BABY DOE, et al.,                                   )
                                                      )
                Plaintiffs,                           )
                                                      )
  v.                                                  )       Case No. 3:22-cv-49-NKM
                                                      )
  JOSHUA MAST, et al.,                                )
                                                      )
                Defendants,                           )
                                                      )
  and                                                 )
                                                      )
  UNITED STATES SECRETARY OF                          )
  STATE ANTONY BLINKEN, et al.,                       )
                                                      )
                Nominal Defendants.                   )
                                                      )

           DEFENDANT RICHARD MAST’S MOTION TO FILE UNDER SEAL
                      EXHIBIT 18 TO HIS MEMORANDUM
        IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

         Defendant Richard Mast hereby moves this honorable Court for an order permitting him to

  file under seal Exhibit 18 to his Memorandum In Opposition to Plaintiffs’ Motion For Protective

  Order (Dkt. No. 171), pursuant to Local Rule 9 and the Protective Order (Dkt. No. 26).

         Defendant Richard Mast filed his opposition to Plaintiffs’ motion for entry of a protective

  order filed yesterday, February 27, 2023 (Dkt. No. 171). As part of that filing, Exhibit 18 (Dkt.

  No. 171-18), while itself redacted, inadvertently included John Doe’s last name in two locations

  on an email. When Plaintiffs’ counsel brought this to Defendant Richard Mast’s counsel’s

  attention, counsel immediately contacted the Court’s clerk, Dylan Gaddes, who placed that Exhibit

  18 under seal. Mr. Gaddes instructed counsel to file a notice to seal that document and to file a

  new Exhibit 18 with the additional two redactions. For the foregoing reasons, Richard Mast
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  respectfully requests the Court to grant this Motion to file the referenced Exhibit 18 under seal so

  as to be compliant with this Court’s pseudonym and protective orders.

  Dated: February 28, 2023                               Respectfully submitted,

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                                                Counsel for Defendant Richard Mast
                                   CERTIFICATE OF SERVICE

         I hereby certify that on February 28, 2023, a copy of the foregoing was filed electronically.

  Notice of this filing will be sent to all parties for whom counsel has entered an appearance by

  operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

  system. I further certify that a copy of the foregoing has been served by ordinary U.S. mail upon

  all parties for whom counsel has not yet entered an appearance electronically: none.

                                                /s/ Richard L. Mast
                                                Richard L. Mast, pro per
